       CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 1 of 18



                                   United States District Court
                                     District of Minnesota

Jonathan D. Gibson,                                       Court file no. 13-cv-01310 (DSD/JSM)

                      Plaintiff,

v.                                                                  First Amended Complaint

Consumer Portfolio Services, Inc., Ms.                             JURY TRIAL DEMANDED
Stewart, Does 1-10,

                      Defendants.


                                          Introduction

1.    Plaintiff is suing the Defendant debt collectors because Defendants harassed

      Plaintiff during repeated collection calls, threatened to garnish Plaintiff's wages,

      threatened to negatively affect Plaintiff's credit, discussed Plaintiff's personal

      financial matters with at least one third-party, and threatened to send the sheriff

      to Plaintiff's house.


                                           Jurisdiction

2.    Jurisdiction of this Court arises under 28 U.S.C. § 1331, 15 U.S.C. § 1692k(d), and 47

      U.S.C. § 227 for the TCPA claims, which are predicated upon the same facts and

      circumstances that give rise to the federal causes of action. Injunctive relief is also

      available pursuant to the TCPA.

3.    This action arises out of Defendants' violations of the Fair Debt Collection

      Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and the Telephone Consumer

      Protection Act (“TCPA”) in their illegal efforts to collect a consumer debt from

      Plaintiff.


                                          Page 1 of 18
      CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 2 of 18




4.   Venue is proper in this District because the acts and transactions occurred here,

     Plaintiff resides here, and Defendants transacts business here.


                                        Parties

5.   Plaintiff Jonathan D. Gibson is a natural person who resides in Minneapolis,

     County of Hennepin, State of Minnesota, and is a “consumer” as defined by 15

     U.S.C. § 1692a(3).

6.   Defendant Consumer Portfolio Services, Inc. (“CPS”) is a California corporation

     that operates from an address of P.O. Box 57071, Irvine, CA, 92619, Defendant

     CPS's registered agent in Minnesota is C T Corporation System Inc., 100 South

     Fifth Street, Suite 1075, Minneapolis, MN 55402. Defendant CPS is a “debt

     collector” as defined by 15 U.S.C. § 1692a(6).

7.   Defendant Ms. Stewart is a natural person that was employed by Defendant CPS

     at all relevant times, and is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

8.   Defendants Does 1-10 are each a natural person that were employed by

     Defendant CPS at all relevant times, and are each a “debt collector” as defined by

     15 U.S.C. § 1692a(6).


                                 Factual Allegations

                                      Background

9.   Defendant CPS attempted to collect from Plaintiff an alleged financial obligation

     that was primarily for personal, family or household purposes and is therefore a




                                     Page 2 of 18
       CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 3 of 18



      “debt” as that term is defined by 15 U.S.C. § 1692a(5), namely, the alleged unpaid

      balance on an automobile credit agreement.

10.   This alleged debt was consigned, placed or otherwise transferred to Defendant

      CPS for collection from Plaintiff.

11.   Defendant CPS and the collectors employed by Defendant CPS have repeatedly

      and willfully contacted Plaintiff on his cellular telephone and each contact was a

      “communication[s]” in an attempt to collect a debt as that term is defined by 15

      U.S.C. § 1692a(2) and violations of the FDCPA and TCPA.


                 Plaintiff Attempts to Surrender the Car to Defendant CPS

12.   On or about July 2012, Plaintiff began receiving collection calls from Defendant

      CPS, and each call was a “communication” in an attempt to collect a debt as that

      term is defined by 15 U.S.C. § 1692a(2).

13.   Plaintiff repeatedly explained to Defendant CPS's collector that he could not

      afford to pay the debt and offered to surrender the car to Defendant CPS, or

      words to that effect.

14.   Plaintiff further explained that the car was currently sitting in the parking lot of

      his apartment building, but it could not sit there much longer, or words to that

      effect.

15.   Plaintiff was told that Defendant CPS's collector did not want the car, they

      wanted money, or words to that effect.

16.   Defendant CPS's collector told Plaintiff to sell the car, or words to that effect.



                                       Page 3 of 18
       CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 4 of 18



                        Defendant CPS Continues to Call Plaintiff

17.   In or about August 2012, Plaintiff engaged in numerous telephone calls with

      Defendant CPS, and each call was a “communication” in an attempt to collect a

      debt as that term is defined by 15 U.S.C. § 1692a(2).

18.   Defendant CPS requested payment from Plaintiff, who again explained he could

      not make a payment.

19.   Plaintiff told Defendant CPS that he would be forced to sell the car for scrap,

      because it could not continue to sit in the parking lot of his residence.

20.   Defendant CPS then told Plaintiff to try and find a buyer for the vehicle, or

      words to that effect.

21.   Soon thereafter, Plaintiff informed Defendant CPS's collector that a buyer was

      interested in purchasing the vehicle for approximately $1,300, or words to that

      effect.

22.   Defendants CPS's collector told Plaintiff that they didn't want $1,300, they

      wanted the entire amount.

23.   At some point thereafter, Plaintiff sold the car for scrap and informed Defendant

      CPS that he had no choice but to sell it for scrap, or words to that effect.

24.   Defendant CPS then requested the contact information for the scrap company

      and the building manager for Plaintiff's residence, so that they could confirm that

      the car was scrapped, or words to that effect.

25.   Defendant CPS then again requested that Plaintiff make a payment.


                                      Page 4 of 18
       CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 5 of 18




26.   As he had previously explained, Plaintiff stated he could not make a payment in

      that amount.

27.   Soon thereafter, the call ended.

28.   These calls were illegal attempts to collect this debt in violation of numerous and

      multiple provisions of the FDCPA, including but not limited to 15 U.S.C. §§

      1692d, 1692e, and 1692e(10), amongst others, as well as violations of the TCPA.


                        Defendant CPS Threatens to Ruin Plaintiff's Credit

29.   In or about August 2012, Plaintiff received a collection call from Defendant CPS,

      and this call was a “communication” in an attempt to collect a debt as that term

      is defined by 15 U.S.C. § 1692a(2).

30.   Defendant CPS's collector requested a payment of approximately $500 from

      Plaintiff, or words to that effect.

31.   Plaintiff said he could not afford a payment of $500 or words to that effect.

32.   Defendant CPS's collector told Plaintiff that they would ruin his credit, or words

      to that effect.

33.   This call was an illegal attempt to collect this debt in violation of numerous and

      multiple provisions of the FDCPA, including but not limited to 15 U.S.C. §§

      1692d, 1692e, 1692e(5), 1692e(8), and 1692e(10), amongst others, as well as

      violations of the TCPA.




                                         Page 5 of 18
       CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 6 of 18



                           Defendant CPS Harass Plaintiff's Girlfriend

34.   In or around August 2012, Plaintiff's girlfriend received a series of collection calls

      from Defendant CPS, and this call was a “communication” in an attempt to

      collect a debt as that term is defined by 15 U.S.C. § 1692a(2).

35.   Defendant CPS's collector asked Plaintiff's girlfriend if she knew where the car

      was, or words to that effect.

36.   Defendant CPS's collector told Plaintiff's girlfriend that they “needed it, we need

      to repossess it” or words to that effect.

37.   Defendant CPS's collector told Plaintiff's girlfriend that Plaintiff's account was

      delinquent and they need to get information on the car, or words to that effect.

38.   Plaintiff's girlfriend told Defendant CPS's collector to stop calling her, or words

      to that effect.

39.   Plaintiff's girlfriend never asked Defendant CPS to call her, nor did she give them

      permission to call her.

40.   Plaintiff's girlfriend received at least one call from Defendant CPS after she told

      them to stop calling her.

41.   Plaintiff's girlfriend received at least one voicemail from Defendant CPS. In the

      voicemail, Defendant CPS stated they were attempting to collect a debt from

      Plaintiff, or words to that effect.

42.   These calls were illegal attempts to collect this debt in violation of numerous and

      multiple provisions of the FDCPA, including but not limited to 15 U.S.C. §§


                                        Page 6 of 18
       CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 7 of 18



      1692b(2), 1692b(3), 1692c(b), 1692d, 1692e, and 1692e(10), amongst others, as well

      as violations of the TCPA.


        Defendant CPS Tell Plaintiff's Co-Worker They Want to Repossess Plaintiff's Car

43.   On or about September 27, 2012, Defendant CPS called Plaintiff's workplace, and

      this call was a “communication” in an attempt to collect a debt as that term is

      defined by 15 U.S.C. § 1692a(2).

44.   Defendant CPS's collector asked Plaintiff's co-worker if they could speak with

      Steven or Jonathan, or words to that effect.

45.   Plaintiff's co-worker told Defendant CPS's collector that Plaintiff was not there,

      or words to that effect.

46.   Defendant CPS's collector told Plaintiff's co-worker that they were trying to

      repossess Plaintiff's car, or words to that effect.

47.   Soon thereafter, the call ended.

48.   Shortly thereafter the above-described call, Plaintiff was contacted by his co-

      worker and learned about the collection call.

49.   Plaintiff was upset that Defendant CPS had contacted his workplace and

      discussed his personal finances to at least one co-worker.

50.   This call was an illegal attempt to collect this debt in violation of numerous and

      multiple provisions of the FDCPA, including but not limited to 15 U.S.C. §§

      1692b(2), 1692c(b), 1692d, 1692e, 1692e(5), and 1692e(10), amongst others, as well

      as violations of the TCPA.


                                         Page 7 of 18
       CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 8 of 18



                                Defendant CPS Harasses Plaintiff

51.   On or about September 27, 2012, Plaintiff received a collection call from

      Defendant CPS, and this call was a “communication” in an attempt to collect a

      debt as that term is defined by 15 U.S.C. § 1692a(2).

52.   Defendant CPS's collector requested a payment from Plaintiff and told Plaintiff

      he owed more than $2,400, or words to that effect.

53.   Plaintiff asked Defendant CPS's collector why they were discussing his personal

      finances with his co-workers.

54.   Defendant CPS's collector told Plaintiff “because you owe a debt” or words to

      that effect.

55.   Plaintiff then asked Defendant CPS's collector if it was ok for them to harass him

      and tell his co-workers about his debt, or words to that effect.

56.   Defendant CPS's collector told Plaintiff they could do that, or words to that effect.

57.   Defendant CPS's collector again asked Plaintiff to make a payment, or words to

      that effect.

58.   Plaintiff indicated he could not make a payment.

59.   Defendant CPS's collector told Plaintiff “that's ok, we're going to send the

      paperwork to your workplace next Monday to start garnishing your wages,” or

      words to that effect.

60.   Plaintiff then ended the call.




                                       Page 8 of 18
       CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 9 of 18




61.   After the call ended, Plaintiff felt depressed, worried, and anxious. Plaintiff was

      worried that his wages would be garnished and he would be unable to pay his

      rent and take care of his two-year-old son.

62.   This call was an illegal attempt to collect this debt in violation of numerous and

      multiple provisions of the FDCPA, including but not limited to 15 U.S.C. §§

      1692d, 1692e, 1692e(2), 1692e(4), 1692e(5), and 1692e(10), amongst others, as well

      as violations of the TCPA.


                Defendant CPS Threatens to Send the Sheriff to Plaintiff's House

63.   On or about November 15, 2012, Plaintiff received a collection call from

      Defendant CPS, and this call was a “communication” in an attempt to collect a

      debt as that term is defined by 15 U.S.C. § 1692a(2).

64.   Plaintiff spoke with an individual from Defendant CPS that identified herself as

      Ms. Stewart from the investigation team.

65.   Defendant Ms. Stewart told Plaintiff she was calling because Plaintiff was

      concealing the vehicle, or words to that effect.

66.   Plaintiff had repeatedly offered to surrender the car and had even told Defendant

      CPS where the car was located. In addition, after he was unable to sell the car at

      Defendant CPS's instruction, Plaintiff sold the car for scrap and informed

      Defendant CPS that he had done so.

67.   Defendant Ms. Stewart told Plaintiff that was nothing in the record about the car

      being sold, or words to that effect.



                                      Page 9 of 18
      CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 10 of 18




68.   Defendant Ms. Stewart told Plaintiff that she would have the sheriff come to his

      house and investigate where the car was, and the sheriff would also serve papers

      on Plaintiff, or words to that effect.

69.   Defendant Ms. Stewart asked Plaintiff where his grandparents lived, because

      they intended to garnish his grandparents wages, or words to that effect.

70.   Plaintiff asked if they could garnish his grandparents wages and Defendant Ms.

      Stewart said yes, or words to that effect.

71.   Defendant Ms. Stewart told Plaintiff that their lawyer had filed something

      regarding a concealed vehicle, and the next step would be to garnish Plaintiff's

      wages, or words to that effect.

72.   Plaintiff asked Defendant Ms. Stewart if they had to the right to harass him over

      such a small debt, or words to that effect.

73.   Defendant Ms. Stewart told Plaintiff they did, or words to that effect.

74.   Sometime thereafter, the call ended.

75.   After the phone call, Plaintiff thought Defendant Mrs. Stewart was accusing him

      of committing a crime and that he would be arrested.

76.   This call was an illegal attempts to collect this debt in violation of numerous and

      multiple provisions of the FDCPA, including but not limited to 15 U.S.C. §§

      1692d, 1692e, 1692e(1), 1692e(4), 1692e(5), 1692e(7), and 1692e(10), amongst

      others, as well as violations of the TCPA.




                                        Page 10 of 18
      CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 11 of 18



                               Telephone Consumer Protection Act

77.   At all times relevant to this complaint, the Plaintiff was and is a “person” as

      defined by the TCPA 47 U.S.C. § 153(39).

78.   At all times relevant to this complaint, Defendant CPS owned, operated, and/or

      controlled “customer premises equipment” as defined by the TCPA 47 U.S.C. §

      153(16) that originated, routed, and/or terminated telecommunications.

79.   Defendant CPS, at all times relevant to the complaint herein, engaged in

      “telecommunications” as defined by the TCPA 47 U.S.C. § 153(50).

80.   Defendant CPS, at all times relevant to the complaint herein, engaged in

      “interstate communications” by the TCPA 47 U.S.C. § 153(28).

81.   At all times relevant to this complaint, Defendant CPS have used, controlled,

      and/or operated “wire communications” as defined by the TCPA 47 U.S.C. §

      153(59), that existed as instrumentalities of interstate and intrastate commerce.

82.   At all times relevant to this complaint, Defendant CPS used, controlled, and/or

      operated “automatic telephone dialing systems” as defined by the TCPA 47

      U.S.C. § 227(a)(1) and 47 C.F.R. 64.1200(f)(1).


            Illegal Auto-Dialed Collection Calls in Violation of the TCPA and FDCPA

83.   Within one (1) year immediately preceding the filing of this lawsuit, Defendant

      CPS telephoned Plaintiff's cellular phone on numerous occasions, in violation of

      the TCPA.




                                      Page 11 of 18
      CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 12 of 18




84.   Upon information and belief, Plaintiff never provided his cell phone number to

      the original creditor for this debt or Defendant CPS, nor has he consented to calls

      from Defendant CPS on that number.

85.   Without Plaintiff's prior express consent, Defendant CPS and it's collectors

      repeatedly called Plaintiff on his cell phone number using an automatic

      telephone dialing system to call his cell phone in an attempt to collect this alleged

      debt.

86.   On numerous occasions, Plaintiff received a number of calls in a short time span

      from Defendant CPS.

87.   On at least one day, Plaintiff received at least five (5) phone calls from Defendant

      CPS.

88.   During at least one of these calls, Plaintiff heard messages from Defendants CPS

      telling them to please wait until the call was connected to a representative, or

      there was a long silent pause before they disconnected the call.

89.   During other times when Plaintiff did not answer these calls, Defendant CPS

      would leave an automated message that in part indicated that they were a debt

      collector and instructed them to call Defendant CPS back.

90.   Defendant CPS's messages to Plaintiff were from a prerecorded and/or

      synthesized computer voice.

91.   The aforementioned calls from Defendant CPS were sent to Plaintiff in willful

      violation of the TCPA and the FDCPA because Defendant CPS never obtained



                                     Page 12 of 18
      CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 13 of 18



      Plaintiff’s prior express consent, and had no basis to believe that it had Plaintiff’s

      prior express consent.

92.   Defendant CPS's repeated autodialed collection calls to Plaintiff's cell phone,

      within the last one (1) years prior to filing this complaint, were illegal attempts to

      collect this debt in violation of numerous and multiple provisions of the FDCPA,

      including but not limited to 15 U.S.C. §§ 1692d, 1692d(5), 1692e, 1692e(10), and

      1692f, amongst others.

93.   Defendant CPS's repeated autodialed collection calls to Plaintiff's cell phone,

      within the last one (1) year prior to filing this complaint, were illegal and in

      violation of the TCPA, 47 U.S.C. § 227 et seq.


                                        Summary

94.   All of the above-described collection communications made to Plaintiff by

      Defendant CPS and other collection employees employed by Defendant, were

      made in violation of numerous and multiple provisions of the FDCPA and TCPA,

      including but not limited to all of the above mentioned provisions, amongst

      others.

95.   Defendant CPS's actions as described herein left Plaintiff feeling upset,

      frustrated, angry, and anxious from the persistent and harassing telephone calls

      by Defendant.




                                      Page 13 of 18
       CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 14 of 18



                             Respondeat Superior Liability

96.    The acts and omissions of the individual Defendants, and the other debt

       collectors employed as agents by Defendant CPS who communicated with

       Plaintiff as more further described herein, were committed within the time and

       space limits of their agency relationship with their principal, Defendant CPS.

97.    The acts and omissions by these individuals and these other debt collectors were

       incidental to, or of the same general nature as, the responsibilities these agents

       were authorized to perform by Defendant CPS in collecting consumer debts.

98.    By committing these acts and omissions against Plaintiff, these individuals and

       debt collectors were motivated to benefit their principal, Defendant CPS.

99.    Defendant CPS is therefore liable to Plaintiff through the Doctrine of Respondeat

       Superior for the intentional and negligent acts, errors, and omissions done in

       violation of state and federal law by its collection employees, including but not

       limited to violations of the FDCPA and TCPA in their attempts to collect this debt

       from Plaintiff.


                                         Trial by Jury

100.   Plaintiff is entitled to and hereby respectfully demand a trial by jury. US Const.

       Amend. 7; Fed. R. Civ. P. 38.


                                       Causes of Action

                                        Count 1:
                  Violations of the Fair Debt Collection Practices Act
                                15 U.S.C. §§ 1692 et seq.



                                        Page 14 of 18
       CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 15 of 18




101.   Plaintiff incorporates the foregoing paragraphs as though fully stated herein.

102.   The foregoing intentional and negligent acts and omissions of Defendant CPS

       and its agents, within the last one (1) year immediately preceding the filing of

       this Complaint, constitute numerous and multiple violations of the FDCPA

       including, but not limited to, each and every one of the above-cited provisions of

       the FDCPA, 15 U.S.C. §§ 1692–1692p, with respect to Plaintiff.

103.   As a result of Defendant CPS's violations of the FDCPA, Plaintiff is entitled to

       actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an

       amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable

       attorney fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from Defendant

       herein.

                                        Count 2:
                 Violations of the Telephone Consumer Protection Act
                                 47 U.S.C. §§ 227 et seq.

104.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint

       as though fully stated herein.

105.   Within the one year period immediately preceding this action, Defendant CPS

       made numerous calls to the Plaintiff’s cellular telephone service using an

       automatic telephone dialing system in violation of the TCPA, 47 U.S.C. Section

       227(b)(1)(A)(iii), and 47 C.F.R. 64.1200 (a)(1)(iii).

106.   The acts and or omissions of Defendant CPS at all times material and relevant

       hereto, as described in this complaint, were done unfairly, unlawfully,




                                        Page 15 of 18
       CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 16 of 18



       intentionally, deceptively and absent bona fide error, lawful right, legal defense,

       legal justification or legal excuse.

107.   As a causally-direct and legally proximate result of the above violations of the

       TCPA and the C.F.R., Defendant CPS at all times material and relevant hereto, as

       described in this Complaint, caused Plaintiff to sustain damages.

108.   Defendant CPS did not have the prior express consent of Plaintiff to use an

       automatic telephone dialing system to call the Plaintiff’s cellular telephone.

109.   Defendant CPS made such calls willfully.

110.   Under the 47 U.S.C. Section 227(b)(3)(B), Plaintiff is entitled to statutory damages

       under the TCPA of $500.00 per phone call made to Plaintiff.

111.   Defendant CPS willfully and knowingly violated the TCPA, and as such Plaintiff

       is entitled to $1,500.00 per phone call made to Plaintiff pursuant to the 47 U.S.C.

       Section 227(b)(3).

112.   Plaintiff is entitled to injunctive relief prohibiting Defendant CPS from contacting

       Plaintiff on his cellular phone using an automated dialing system pursuant to the

       47 U.S.C. Section 227(b)(3)(a).


                                      Prayer for Relief

Wherefore, Plaintiff prays that judgment be entered against each Defendant for:




                                         Page 16 of 18
    CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 17 of 18



                                     Count 1:
               Violations of the Fair Debt Collection Practices Act
                             15 U.S.C. §§ 1692 et seq.

•   statutory damages of $1,000.00, pursuant to 15 U.S.C. § 1692k(a)(2)(A);

•   actual damages pursuant to 15 U.S.C. § 1692k(a)(1) in an amount to be

    determined at trial;

•   costs of litigation and reasonable attorney fees pursuant to 15 U.S.C. § 1692k(a)

    (3);

                                     Count 2:
              Violations of the Telephone Consumer Protection Act
                              47 U.S.C. §§ 227 et seq.

•   for an award of statutory damages of $500.00 per call pursuant to 47 U.S.C.

    Section 227(b)(3)(B) against Defendants and for Plaintiff;

•   for an award of treble damages of $1,500.00 per call pursuant to 47 U.S.C. Section

    227(b)(3) against Defendants and for Plaintiff;

•   for an injunction prohibiting Defendants from contacting Plaintiff on his cellular

    phone using an automated dialing system pursuant to the 47 U.S.C. Section

    227(b)(3)(a); and

•   for such other and further relief as may be just and proper.



                                  [signature follows]




                                   Page 17 of 18
      CASE 0:13-cv-01310-DSD-JSM Doc. 15 Filed 08/26/13 Page 18 of 18



                                      Respectfully submitted,

                                      The Ryder Law Firm, LLC

Date: August 26, 2013___________      s/Randall P. Ryder
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                                   Page 18 of 18
